                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
                             Clerk's Office − Newark, NJ


MALIBU MEDIA, LLC
                                             Plaintiff,
v.                                                        Case No.:
                                                          2:17−cv−01271−SDW−SCM
                                                          Judge Susan D. Wigenton
JOHN DOE SUBSCRIBER ASSIGNED
IP ADDRESS 67.83.64.114, et al.
                                             Defendant.




           Notice Of Call For Dismissal Pursuant to Local Civil Rule 41.1(a)

   Please take notice that the above−captioned action, having been pending for more than
90 days, without any proceeding having been taken therein, will be called at the Martin
Luther King Building and U.S. Courthouse, 50 Walnut Street, Newark, NJ before Judge
Susan D. Wigenton on 4/18/2018 or as soon thereafter as the same may be reached, and
unless sufficient reason to the contrary is shown, the case will be dismissed for lack of
prosecution in accordance with Local Civil Rule 41.1(a).
   NO APPEARANCE IS REQUIRED. Counsel of record or unrepresented parties may
show good cause by affidavit setting forth what good faith efforts to prosecute this action
have been made and what further efforts are intended. If said affidavit has not been filed
before the return date, counsel of record or unrepresented parties may be required to
appear before the Court, to show good cause why this action should not be dismissed for
lack of prosecution.


                                                Very truly yours,
                                                William T. Walsh, Clerk
                                                By Deputy Clerk, cds




If applicable, counsel of record is directed to serve this notice to their client, whose street
and post office address do not appear in the complaint as directed by Local Civil Rule 10.1,
and to provide proof of service to the Court.
